          Case 8-18-77317-las                      Doc 31-1              Filed 02/06/19         Entered 02/06/19 09:34:04




    UNITED STATES BANKRUPTCY COURT
    EASTERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------X

    In re:                                                                                     Chapter     1 1




    RAYMOND DICKHOFF                                                                           Case No.: 18-77317                                    i




    a/k/a RAYMOND F. DICKHOFF




                                                   Debtor
    -----------------------------------------------------------------X


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                                                        EAFFIDAVIT OF SERVICEE                        it                              To   |E   it




    STATE OF NEW YORK                          )

                                               ) ss.:
    COUNTY OF NASSAU                           )



              Angelique F ilardi, being duly sworn, deposes and says:


              Deponent is not a party to the action, is over 18 years of age and resides in Plainview, New
    York.


              On      February     5,       2019, deponent served a copy of the within Subpoena for Rule 2004
    Examination and Exhibits by regular mail upon the                                       parties listed   on the annexed   list   at the
    addresses listed, said addresses designated for that purpose, by depositing a true copy of same
    enclosed in a post paid, properly address wrapper, in an official depository under the exclusive care
    and custody of the United States Postal Service within the State of New York by regular mail.

    To:       * See Attached Service List *




                                                                             Angeli/u Filardi


    Swom to me this 5*h
    day of   February%,

    NOTACRY PUBLIC
                                                             HEATH S. BERGER
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Wayne   Steck
The Gates at Medford, LLC
1600 Calebs Path Extension
Hauppauge, New York 11749


Eastern Property Investor Consultants, LLC
Macco &      Stern,   LLP
2950 Express Drive South, Suite 109
        New York 11749
Islandia,


The Gates    at   Medford, LLC
1600 Calebs Path Extension
Hauppauge, New York 11788


The Gates    at   Medford, LLC
c/o Ferro,   Kuba, Mangano, Skylar, P.C.
825 Veterans Highway
Hauppauge, New York 11788
